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 7    United States of America

 8                                  IN THE UNITED STATES DISTRICT COURT

 9                                      EASTERN DISTRICT OF CALIFORNIA

10

11    UNITED STATES OF AMERICA,                         No. 1:14-CR-00228-LJO-SKO

12                               Plaintiff,             UNITED STATES’ STATUS REPORT AND
                                                        REQUEST FOR STATUS HEARING
13                      v.                              REGARDING THE ANCILLARY
                                                        PROCEEDING; ORDER
14    BRANDON MICHAEL THOMAS,
      MIGUEL H. GONZALEZ,                               [FED. R. CRIM. P. 32.2(c)(1)(B)]
15    PETER SANTO CAPODIECI,
      CHAD ALLEN RIFFLE,                                Proposed Date: February 5, 2018
16    BREE ANN BENSON,                                  Proposed Time: 8:30 a.m.
      ASEEL AIMEN AL-SABER,                             Courtroom: 4
17    ASHLY STARLING WILLIAMS, and
      JEREMY MICHAEL MURPHY,                            Honorable Lawrence J. O’Neill
18
                                 Defendants.
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20             The criminal prosecution of the above-captioned defendants having been resolved with the

21    entry of their guilty pleas or guilty verdict, and having been sentenced, the United States submits

22    this status report and request for status hearing on the only remaining unresolved matter of the

23    claim of Michael Paz:

24             1.       On April 17, 2017, Michael Paz (“Petitioner”) filed a Seized Asset Claim Form

25    alleging and interest in the 2009 Mercedes C300W, VIN: WDDGF54X49R049847 (the“Subject

26    Vehicle”). (ECF No. 390.) Petitioner claims an interest in the Subject Vehicle and alleges that he

27    purchased the Subject Vehicle with monies derived from a legitimate source. Id.

28             2.       On November 30, 2017, the United States sent written correspondence to Michael

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 1    Paz asking him to contact the office and advise of his intent to pursue his claim. The United

 2    States offered that if he did not intend to pursue his claim, Michael Paz could execute and return

 3    the enclosed withdrawal of claim form. A true and correct copy of the November 30, 2017,

 4    correspondence and Notice of Withdrawal of Claim form is attached hereto and incorporated as

 5    Exhibit A.

 6             3.       On or about December 5, 2017, Michael Paz contacted Assistant United States

 7    Attorney, Jeffrey A. Spivak, and advised that he did not wish to pursue his claim, and that he

 8    would sign the withdrawal and return it to the office. As of the date of the filing of this request,

 9    the United States has neither received the signed withdrawal or any further communication from

10    Michael Paz of his intent to litigate his claim.

11             4.       Federal Rule of Criminal Procedure 32.2(c) governs third party asset forfeiture

12    proceedings in criminal cases. Rule 32.2(c)(1) provides that if a third party files a petition

13    asserting an interest in property to be forfeited in a criminal case, the district court must conduct

14    an ancillary hearing. Fed.R.Crim.P. 32.2(c)(1). Rule 32.2(c)(1)(B) provides that prior to the

15    ancillary hearing the Court may permit the parties to conduct discovery in accordance with the

16    Federal Rules of Civil Procedure if the court determines that discovery is “necessary or desirable

17    to resolve factual issues.” Fed.R.Crim.P. 32.2(c)(2)(B).

18             5.       Since Petitioner Michael Paz stated that he intended to withdraw his claim, the

19    United States requests that before the ancillary discovery process opens, the Court set a status

20    conference to determine whether Petitioner Michael Paz wishes to continue litigating his claim,
21    and if so, to then set a discovery and motion schedule according to Fed.R.Crim.P. 32.2(c)(2)(B).

22             6.       The United States will serve a copy of the order issued by the Court on Michael

23    Paz at his address of record on the court docket.

24                                                            Respectfully submitted,

25    Dated: January 19, 2018                                 McGREGOR W. SCOTT
                                                              United States Attorney
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                                                      By:      /s/ Jeffrey A. Spivak
27                                                            JEFFREY A. SPIVAK
                                                              Assistant U.S. Attorney
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 1                                                  ORDER

 2             Based on the request of the United States, and the outstanding claim of Michael Paz, it is

 3    hereby ordered that the matter of the ancillary process be discussed at a Status Conference which

 4    shall be heard on Monday, February 5, 2018, at 8:30 a.m. in Courtroom 4.

 5
      IT IS SO ORDERED.
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 7        Dated:       January 19, 2018                      /s/ Lawrence J. O’Neill _____
                                                    UNITED STATES CHIEF DISTRICT JUDGE
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     UNITED STATES’ STATUS REPORT AND REQUEST FOR       3
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